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   8
                                 UNITED STATES DISTRICT COURT
   9
                                CENTRAL DISTRICT OF CALIFORNIA
 10
         UNITED STATES OF AMERICA,            )
 ~~                                           ~               C~ I `~^ S'1 ~-- o Dv~
                           Plaintiff,         )        ORDER [OF DETENTION] [SETTING
 12                                                    CONDITIONS OF RELEASE] AFTER HEARING
                                                             (18 U.S.C. § 3148(b):
 13                                                       (Allegations of Violation of
                             Vbr1-~ Sd ~                 Pretrial Conditions of Release)
 14       ~! G-M~L~w
                           Defendant.
 15

16~                                                A.
17             On motion of the Government involving an alleged violation of

18       conditions of pretrial release and warrant for arrest issued by [Judge

19

20

21             The court finds there is

22       (1)

23             (A)   ( )   Probable   cause       to    believe   that     the       defendant has
24                         committed a     Federal,      State, or local         crime       while on
25                         release; or

26 '~          (B)   ( )   Clear and convincing evidence that               the defendant has
27                         violated any other condition of release; and

28
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     1   (2)

     2         (A)   (V)    Based on the factors set forth in 18 U.S.C. § 3142(8),

     3                      there is no condition or combination of conditions of

     4                      release that will assure that the person will not flee or

     5                     pose a danger to the safety or any other person or the

     6                     community; or

     7         (B)   ( )   The    person   is    unlikely to     abide   by     any condition or
     8                     combination of conditions of release.

     9                             and/or, in the event of (1)(A)
 10      (3)         ( )   There    is    probable      cause   to    believe    that,    while on
 11                        release, the defendant committed a Federal, State, or
 12                        local felony, and the presumption that no condition or
 13                        combination of conditions will assure that the person
 14                        will not pose a danger to the safety of any other person
 15                        or the community has not been rebutted.
16                                                 or
17       (4)         ( )   The court finds that there are conditions of release that
18                         will assure that the defendant will not flee or pose a
19                         danger    to    the   safety    of   any    other     person   or    the
20                         community, and that the defendant will abide by such
21                         conditions.      See separate order setting conditions.
22                         It is further ordered that this order is stayed for 72
23                         hours in order to allow the Government to seek review
24                         from    the    [assigned     district      judge]    [criminal      duty
25                         district judge].
26                                                 or
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     1                                          C.

     2         ~     IT IS ORDERED defendant be detained prior to trial.

     3                    DATED:   ~~(~r w~
                                      \ \              ~~
     5                                              U.S. MAGISTRATE/

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